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PROB 12A
(7/93)

                               United States District Court
                                            for
                                  District of New Jersey
                          Report on Offender Under Supervision
his
Name of Offender: Jeremy Slagle                                                         Cr.: 16-0314(MCA)
                                                                                          PACTS #: 51150

Name of Sentencing Judicial Officer:    U.S. DISTRICT JUDGE HENRY H. KENNEDY, JR.

Name of Assigned Judicial Officer: U.S. DISTRICT JUDGE MADELINE COX ARLEO

Date of Original Sentence: January 9, 2009

Original Offense:   Transporting or Shipping Material Involving Child Pornography

Original Sentence: 84 months custody; 10 years supervision

Special Conditions: Mental health treatment; Polygraph testing; Computer search; Computer/internet
access restrictions; Third party risk/employment restrictions; Sex offender treatment; Association
restriction; Contract restriction; Employment restrictions; Possession of materials restriction; Sex
offender registration; Telephone restrictions; Video recording device restrictions; Substance abuse
treatment

Type of Supervision: Supervised Release                         Date Supervision Commenced: 07/02/2015

                                 NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

Violation Number      Nature of Noncompliance

  1                    On September 11, 2020, the Individual Under Supervision submitted to a
                       polygraph examination as directed by the U.S. Probation Office. Deception was
                       indicated on the question regarding having unsupervised contact with a child
                       under the age of 18. During subsequent interviews with the Individual Under
                       Supervision, he adamantly denied any wrongdoing.


U.S. Probation Officer Action:
As a result of the failed polygraph examination, his sex offender treatment provider was notified and it was
addressed.in sessions. A second, more specific, polygraph examination regarding him having unsupervised
contact with a child under the age of 18 was conducted on December 18, 2020, and no deception was
indicated.

At this time, we are requesting that no formal Court action be taken. We will continue to monitor his
progress through collateral contacts with family members, law enforcement and with his treatment provider,
as well as frequent home inspections.
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                                                                                              Jeremy Slagle

                                                         Respectfully submitted,

                                                         SUSAN M. SMALLEY, Chief
                                                         U.S. Probation Officer
                                                                Susan Karlak
                                                          By: SUSAN KARLAK
                                                                Senior U.S. Probation Officer

/ sk

APPROVED:

Suzanne Golda-Martinez               01/04/2021
SUZANNE GOLDA-MARTINEZ                            Date
Supervising U.S. Probation Officer

Please check a box below to indicate the Court’s direction regarding action to be taken in this case:

X No Formal Court Action to be Taken at This Time (as recommended by the Probation Office)
   Submit a Request for Modifying the Conditions or Term of Supervision
   Submit a Request for Warrant or Summons
   Other



                                                                  Signature of Judicial Officer



                                                         1/8/21
                                                                              Date
